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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


  WOLFRAM ARNOLD, ERIK
  FROESE, TRACY HAWKINS,
  JOSEPH KILLIAN, LAURA CHAN
  PYTLARZ, and ANDREW
  SCHLAIKJER,

                           Plaintiffs,
                                              C.A. No. 1:23-cv-00528-JLH-CJB
                v.

  X CORP. f/k/a TWITTER, INC., X
  HOLDINGS CORP. f/k/a X
  HOLDINGS I, INC. and ELON MUSK,

                           Defendants.

        NOTICE OF WITHDRAWAL OF MEGHAN M. DOUGHERTY

       PLEASE TAKE NOTICE that Meghan M. Dougherty, Esquire, being no

 longer associated with the undersigned firm, hereby withdraws her appearance as

 counsel for Plaintiffs. Joseph L. Christensen, Esquire will continue as counsel of

 record for Plaintiffs.


 DATED: September 24, 2024
                                         CHRISTENSEN LAW LLC

                                          /s/ Joseph L. Christensen
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